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Department of Local Government Finance                                                (/dlgf/)                                                                  Exhibit D



DLGF (/DLGF/INDEX.HTM)   »   OVERVIEW (/DLGF/7178.HTM)   »   ASSESSED VALUE




ASSESSED VALUE



The information provided in these databases is public record and available through public information requests. The Department of Local Government Finance
has compiled this information in an easy-to-use format to assist Hoosiers in obtaining information about property taxes.

When looking for an assessed value, keep in mind that the assessed value for a particular year (for instance 2015) is the value upon which taxes are based in
the following year (i.e. 2016). In other words, for the tax bill you received and paid in 2016, the assessed value is listed as the 2015 assessed value. In most
cases, the most important value to note in the table listed in the search is the line marked "Assessed Value Total Land and Improvements." This line will be
highlighted in yellow and is the equivalent of the property's gross assessed value as shown on the Notice of Assessment or Tax Bill.

Once you have entered information, click the "Search" button. To view an individual record, click the "Details" box. To view information in an Excel file, click
"Download."

The data contained in these searches comes directly from each county, so the format in the database may vary. If you search is not yielding results, try a partial
search by using just the street name without direction or type. (For example, if the address is "123 Main St.", try inputting "123 Main".) You can also try using
part of your last name instead of your full first and last name. If you are still unable to access the information, please contact the Department’s Data Analysis
team at Data@dlgf.in.gov (mailto:Data@dlgf.in.gov). Bulk datasets containing countywide information may be found on Gateway’s Download Data page at
https://gateway.ifionline.org/public/download.aspx (https://gateway.ifionline.org/public/download.aspx).

 Back to Search

 Parcel Detail

 Parcel                                                      020826279018000072
 State Assigned District Number                              072
 Assessment Year                                             2017
 Neighborhood Identifier                                     632801-072
 Owner                                                       MCKENNA TRICIA L
 Property Address                                            9006 BRICKSHIRE PKWY
 Property City                                               FORT WAYNE
 Property Zip                                                46815
 Property Class Code                                         510
 Legal Description                                           LOT 24 BRICKSHIRE VILLAGE SEC
 Owner Address                                               9006 BRICKSHIRE PKWY
 Owner City                                                  FORT WAYNE
 Owner State                                                 IN
 Owner Zip                                                   46815-5845
 Date Transferred to Owner                                   04/28/2006
 Current Assessed Value Total Land                           $27,600.00
 Current Assessed Value Total Improvements                   $175,700.00
 Assessed Value Total Land and Improvements                  $203,300.00
 Appraisal Date                                              3/18/2017 12:00:00 AM




Online Services
Search Budget Notices (http://www.budgetnotices.in.gov)                                          Indiana Gateway for Government Units
                                                                                                 (https://gateway.ifionline.org/default.aspx)

County Tax Bill Calculator (http://www.in.gov/dlgf/4932.htm)                                     Search Assessed Value Database (/dlgf/4931.htm)

Search Sales Disclosure Database                                                                 Search Past Tax Bill Database (/dlgf/4929.htm)
(http://gatewaysdf.ifionline.org/Search.aspx)

Sales Disclosure Application (http://www.in.gov/dlgf/8294.htm)                                   Forms.IN.gov (http://www.in.gov/dlgf/forms.htm)
